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                  Exhibit A
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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

        Criminal Case No. 21-cr-0229-RBJ

        UNITED STATES OF AMERICA,

                        Plaintiff,
        v.
             1. DAVITA INC.,
             2. KENT THIRY,

                        Defendants.

 _____________________________________________________________________________

           DEFENDANTS’ JOINT REPLY IN SUPPORT OF MOTION FOR
         EXTENSION OF TIME TO COMPLY WITH PROTECTIVE ORDER
 _____________________________________________________________________________

        Defendants DaVita Inc. (“DaVita”) and Kent Thiry (“Thiry”) raise three necessary factual

 corrections in this Reply.

        1.      First, Defendants never “contemplated violating this Court’s Protective Order” and

 instead proceeded thoughtfully and intentionally so that (as explained to DOJ in a meet-and-confer

 call on May 13) neither this Court nor the court in the parallel civil action would misconstrue

 Defendants’ actions as disregarding their respective orders. Second, Defendants never “admitted

 that they had not even begun to comply” with this Court’s Protective Order, which is belied by

 facts such as: (a) a week earlier Defendants met and conferred with DOJ, as required by L.R. 7.1(a)

 before filing a motion, precisely because they had already started working on their compliance

 with the Order; and (b) as the DOJ notes in its Opposition, some of Defendants’ law firms have

 not only begun to comply but have already certified their completed compliance.             Third,

 Defendants’ motion is not “designed to allow the civil court to opine on whether Defendants should



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 contravene the Protective Order and retain documents for use in the civil case,” which the

 Government knew before filing their opposition from: (a) an email to DOJ on May 19 that said

 Defendants “will inform Judge Wood [in the parallel civil action] that we intend to comply with

 the Protective Order, absent further instruction from the court”; and (b) a draft joint filing

 circulated to DOJ in the civil action (unchanged in the final filing) that said “[a]bsent further order

 of [the Illinois court] or the Colorado court, DaVita and Thiry will proceed with this document

 destruction and certify same to the Government by June 20, 2022.”

         2.      The Court should grant Defendants’ motion for a reasonable 30-day extension. No

 party is injured by the granting the motion, and it preserves the parties’ ability to inform fully the

 court in the parallel civil action.

         Dated: May 21, 2022                                Respectfully submitted,

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